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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                             )
                                                    )
               Plaintiff,                           )
                                                    )
      v.                                            )     C.A. No. 22-1466-MN
                                                    )
TESLA, INC.,                                        )
                                                    )
               Defendant.                           )


                      DECLARATION OF EMILY S. DIBENEDETTO

      I, Emily S. DiBenedetto, declare and state as follows:

      1. I am an attorney with the law firm of Shaw Keller LLP, counsel for Autonomous

           Devices LLC (“AD”). I make this declaration in support of AD’s Opening Letter

           Brief (D.I. 61) (“Opening Brief”) and to record the chain of custody of the Tesla

           documents submitted to the Court in camera.

      2. As described in the Notice of Lodging (D.I. 62), the restrictions Tesla, Inc. (“Tesla”)

           placed on these documents precluded AD from electronic transmission or submission

           of Exhibits I, J, K, and L to the Opening Brief.

      3. A member of the Shaw Keller staff received a package containing the documents

           from a delivery person at Shaw Keller LLP’s office on August 10, 2023.

      4. I opened the package containing the documents, inspected their contents for

           completeness, and observed that the documents indicated that they had been printed

           with heat sensitive ink. I repackaged the documents and hand delivered them to the

           Clerk of the Court on August 10, 2023.




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       5. Later the same day, Tesla’s Delaware counsel indicated that Tesla did not object to

           the use of a third-party vendor, Parcels, to deliver those documents to the Court. At

           that time, I had already delivered them to the Court myself so the use of the vendor

           was no longer necessary.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.


Executed on this 11th day of August, 2023.


                                               Respectfully,

                                               /s/ Emily S. DiBenedetto
                                               Emily S. DiBenedetto (No. 6779)
                                               SHAW KELLER LLP
                                               I.M. Pei Building
                                               1105 North Market Street, 12th Floor
                                               Wilmington, DE 19801
                                               (302) 298-0700
                                               edibenedetto@shawkeller.com
                                               Attorney for Autonomous Devices LLC




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